Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 1 of
                                       11




                           GOVERNMENT

                                 EXHIBIT

                                       V
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 2 of
                                       11




                                                                    RFP MIA 000369
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 3 of
                                       11




                                                                    RFP MIA 000370
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 4 of
                                       11




                                                                    RFP MIA 000371
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 5 of
                                       11




                                                                    RFP MIA 000372
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 6 of
                                       11
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 7 of
                                       11




                                                                    RFP MIA 000374
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 8 of
                                       11




                                                                    RFP MIA 000375
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 9 of
                                       11




                                                                    RFP MIA 000376
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 10 of
                                       11




                                                                     RFP MIA 000377
Case 9:08-cv-80736-KAM Document 403-22 Entered on FLSD Docket 06/02/2017 Page 11 of
                                       11




                                                                     RFP MIA 000378
